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      ORDERED in the Southern District of Florida on July 22, 2018.




                                                     Laurel M. Isicoff
                                                     Chief United States Bankruptcy Judge




_____________________________________________________________________________




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA



      IN THE MATTER OF:                                     CASE NO.: 17-22328-LMI
      ROBERTO MESA                                          CHAPTER 13

            Debtors,
      ________________________________/

                     ORDER SUSTAINING OBJECTION TO CLAIM 7-1, DE # 60


             THIS CAUSE having come before the court on July 17, 2018, upon the Debtor

      ROBERTO MESA’s Objection to Claim Number #7-1, (D.E. #60), this Court having considered

      the basis for the objection and being otherwise duly advised in the premises, it is

      ORDERED that ROBERTO MESA’s objection to the claim is hereby SUSTAINED.

      HEREBY Claim Number #7-1 is allowed but with no distribution by the Chapter 13 Trustee.
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Submitted by:

RICARDO CORONA, ESQ.
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The party submitting the order shall serve a copy of the signed order on all required parties and
file with the court a certificate of service conforming with Local Rule 2002-1(F).
